889 F.2d 1084Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mark Lomar JOHNSON, Plaintiff-Appellant,v.Thomas R. ISRAEL, W.M. Eichinger, J. Nessar, B. Downey, D.Defibaugh, L.R. Day, Sergeant Hyler, Defendants-Appellees.
    No. 89-7160.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 29, 1989.Decided Nov. 1, 1989.
    
      Mark Lomar Johnson, appellant pro se.
      Robert Harkness Herring, Jr., Office of the Attorney General of Virginia, for appellees.
      Before DONALD RUSSELL, K.K. HALL, and MURNAGHAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Mark Lomar Johnson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Johnson v. Israel, C/A No. 88-6-H (W.D.Va. May 18, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    